Case 2:O4-cr-20359-.]PI\/| Document 194 Filed 07/19/05 Page 1 of 2 Page|D 262

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CR. NO. 2:04CR20359-Ml

Plaintiff,
VS

Alonso Pinon Loya &
Florentino Pinon Loya

Defendant.

 

ORDER ON JURY VERDICT

 

This cause came on for trial on July 13, 2005, the United States Attorneys
for this District, David Henry and Lorraine Craigr representing the Government,
and the defendants, Alonso Pinon Loya and Florentino Pinon Loya, appearing in
person and with counsel, Charles waldman and Matthew John, respectively.

Jurors were selected and sworn. After listening to opening statements, all
of the proof, closing arguments and jury charge, the jurors were excused to begin
deliberation.

After due deliberation, the jury returned in open court on July 19, 2005,
and announced a verdict of NOT GUILTY as to Counts l and 2 of the Indictment as
to both defendants.

Jurors were polled individually.

ENTERED this the _l§i day of July, 2005.

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JO PHIPPS M¢CALLA
UN TED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compHance
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UNITED `SATES DISTRIC COURT - WTERN D'S'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 194 in
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David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Matthew lan John
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

i\/lemphis7 TN 38103

Charles E. Waldman
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

